     Case 5:21-cv-00056-LGW-BWC Document 139 Filed 12/19/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                   Plaintiff,                             Case No. 5:21-cv-00056-LGW-BWC

       v.                                                 MCNAMARA DECLARATION IN
                                                          SUPPORT OF DEFENDANT’S
NBCUNIVERSAL MEDIA, LLC,                                  MOTION TO EXCLUDE THE
                                                          OPINIONS OF
                   Defendant.                             DR. ELBRIDGE BILLS




       I, Elizabeth A. McNamara, being of lawful age and otherwise competent to testify in a

court of law, hereby declare pursuant to 28 U.S.C. §1746 and under penalty of perjury that the

following is true and correct:

       1.      I am a partner at Davis Wright Tremaine LLP, counsel for Defendant

NBCUniversal Medial, LLC (“NBCU”). I make this declaration in support of NBCU’s motion to

exclude the proffered expert report, deposition testimony, and any trial testimony of Dr. Elbridge

Bills, the expert for Plaintiff Dr. Mahendra Amin (“Dr. Amin”).

       2.      Annexed hereto as Exhibit 1 is a true and correct copy of the initial expert report

submitted by Dr. Bills.

       3.      Annexed hereto as Exhibit 2 is a true and correct copy of the rebuttal expert report

submitted by NBCU’s expert, Dr. Erin Carey.

       4.      Annexed hereto as Exhibit 3 is a true and correct copy of a spreadsheet created by

NBCU that provides a summary of the records Dr. Carey reviewed.

       5.      Annexed hereto as Exhibit 4 is a true and correct copy of Dr. Carey’s supplemental

filing, submitted at the request of Dr. Amin’s counsel.
     Case 5:21-cv-00056-LGW-BWC Document 139 Filed 12/19/23 Page 2 of 2




          6.     Attached hereto as Exhibit 5 are true and correct copies of representative examples

of the medical literature Dr. Carey produced in this action.

          7.     Attached hereto as Exhibit 6 is a true and correct copy of Dr. Bills’s reply expert

report.

          8.     Annexed hereto as Exhibit 7 is a true and correct copy of Dr. Bills’s deposition

transcript from this action.

          9.     Annexed hereto as Exhibit 8 is a true and correct copy of a chart produced by Dr.

Bills, at the request of NBCU’s counsel.

          10.    Attached hereto as Exhibit 9 is a true and correct copy of the medical record of

patient DC, produced by Dr. Amin in this action.

          11.    Attached hereto as Exhibit 10 is a true and correct copy of the medical record of

patient KDM, produced by Dr. Amin in this action.

          12.    Attached hereto as Exhibit 11 is a true and correct copy of the medical record of

patient YPF, produced by Dr. Amin in this action.

          13.    Attached hereto as Exhibit 12 is a true and correct copy of an excerpt of the

deposition of Dr. Carey from this action.

          I declare pursuant to 28 U.S.C. § 1746 and under penalty of perjury that the foregoing is

true and correct.

Executed on December 19, 2023.



                                              _______________________________
                                               ELIZABETH A. MCNAMARA




                               24855-6343-0551v.1 0020040-000174
